AO 242 (12/1 l) Petition for a Writ ofHabeas Corpus Under 28 U.S.C. § 2241 ` , FILED

."UNITED STATES DrSTRlCT CoURT MAR 2 6 2018

 

 

 

. for the . .
_ U.S. CLERK’S OFi"'iBE
SOUTHERN DISTRICT OF INDIANA 'ND|ANAFQL\S, |ND|ANA
) .
) ' ' __
DENNIS DINWIDDIE, ) 2 18 -CV~ G i. 41 § MS MJD'
Petitioner ) .
V' ) Case No.
) (Supplz`ed by Clerk ofCouft)
_ ' . ` ) ' v
JEFFREY E . KRUEGER , Warden , )
)

Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UN])ER 28 U.S.C. § 2241

Personal information

 

 

l. (a) Your full name: Dem‘liS Dil‘lwiddie
v (b) Other names you have used: ‘ N/A
2. Place of confinement

(a) Narne of institution: United States Penitentiary-Terre Haute, Indiana
(b) Address: P-O~ BOX 33, Terre Haute, Indiana 47808::`\

 

 

 

(C) YOUI identification number¢ Federal Register Number: 07505-033
3. Are you currently being held on orders by:
BF€deral authorities D State authorities . El Other - explain: '
Uni-t:e`d;".States Distr:ict Court“-Eastern_. District of Missouri
4. Are you currently: ' '

|JA pretrial detainee (Waiting for trial on‘criminal charges)
)DIServing a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide: '
(a) Narne and location of court that sentenced you: Urli ted States District COul:'t-
E`astern District of Missouri (Southern Division)
(b) Docket number of criminal case: 1 :O6-CR-OOl34-CDP-DDN
(c) Date of sentencing: May 6 , 2009
DBeing held on an immigration charge
, `,, ., gother.(elplain):, ,, ._t , , , ‘t/ ,. ,. ,,, . , _ ,| ,

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Decision or Action You Are Challengingl

5. What are you challenging` m this petition:
` CIHoW your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,

revocation or calculation of good time -credits)

Cl Pretrial detention l

ij Immigration detention

|J Detainer

?B?The Validity of your conviction or sentence as imposed (for example, sentence beyond the statutory

maximum or improperly calculated under the sentencing guidelines)

E] Disciplinary proceedings

lj Other (explain):

 

 

 

6. Provide more information about the decision or action you are challenging:
(a) Nafnc and location ofthe agency of conn- United States -District Court- -Eastern District
of Missouri- -Southern Division
(b) Docket number, case number, or opinion number: 1;06_CR_00134_CDP_DDN
(c) Decision or action you are challenging (for disciplinazyproceedings, speci]j) the penalties imposed):

 

 

 

(d) Date of the decision or action1 May 6 , 2009 (Sentencing)

Your Earlier Challeoges of the Decision or Action

7. First appeal

Did you appeal the decision, tile a grievance, or seek an administrative remedy?

|Z?Yes L'_'INo

(a) If “Yes,’~’ provide:
(1) Namc ofthc authority’ agcncy, or court United States Court 05 ADDeals-Eigh`bh
Circuit 1
(2) Date of tiling: b
(3) Docket number, case number, or opinion number: 618 F- 3d 821 (8th Cir~ 2010)
(4) Result: Aff]';r`r-me'd
(5) Date of result: August 25 , 2010

(5) ISS“cS raiSod? None` Related ToH lns tant `Pétition " " '

 

 

 

 

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(b) If you answered “No,” explain why you did not appeal:

 

 

8. Second appeal
After the first appeal, did you tile a second appeal to a higher authority, agency, or court?
xfil>l{ es ' |JNo
(a) If “Yes,” provide: 1
(l) Name of the authority, agency, or.court: Utii ted StateS Suprerne COUrt

 

(2) Date of tiling:
(3) Docket number, case number, or opinion number: 562 U-S- 1263 (2011)
(4) Resule Certiorari Denied

(5) Date of result: February 28, 2011

(6) Issues raised: None Related To Instant Petition

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not tile a second appeal:

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
ci,Yes 1:1N0 `

(a) lf “Yes,” provide:
(l) Name of the authority, agency, or court:

 

 

(2) Date of tiling:
(3) Docket number, case number, or opinion number:
(4) Result:
(RSjiwDate of result§' `
(6) Issues raised:

 

 

 

 

 

 

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(b) lf you answered “No,” explain why you did not ila a third appeal:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lO. ~Motion under 28 U.S.C. § 2255
ln this petition, are you challenging the validity of your conviction or sentence as imposed?

'°‘ ` 'Wes

~- -- oNo'

lt` “Yes,” answer the following:

(3)

(b)

I-Iave you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?

t’_(l}Yes DNo

lf “Yes,” provide:

(1) Namc Ofooul'tl United States Dist]‘_'ict_ (`.Olirt-F`ast'¢=r‘n Di' qtr'ir‘t of MjSSQu:-Ej
(2) case number; 1::12-cV-OO33-cni>

(3) Date of filing:
(4) Result: Denied

(5) Date of resul§epfember 23, 2014

(6) ISSU€S raised! COunsel Provided Ineffective Assistance Whan He E'ai led

To Advise Petitioner Of His Right TO Testify In His Own Defense_,\At rptng

 

 

 

 

 

 

 

Have you ever iled a motion in a United States Couit of Appeals under 28 U.S.C. § 2244(1:1)(3)(A),

seeking permission to file a second .or successive Section 2255 motion'to challenge this'convicti_on or

sentence? l
XK_KYes _ l'J No .

lf.“Ye_s,” provide: _ _

(1) Nanlc of court Uni ted States Court of App¢=als-Fighth (`.1' rciii t

(2) Case number:

(3) hate of filing:

 

 

' (4) Resuic' "Denied~

(5) Date of result: _
(6) Issues raised: '~ " None Related To Instant Peti'_tion

 

 

 

 

 

 

 

 

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ll.

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
convwd@norgmmgwg Several New Substantive Rules Announced By Supreme

Court Have Issued Since Petitionerls Conviction Has Become Final --
See Accompanying Petition

 

 

 

 

 

Appeals of immigration proceedings
Do_es this case concern immigration proceedings?
l:| Yes - D No

lf “Yes,” provide:

(a) D_ate you were taken into immigration custody: N/A

 

(b) Date of the removal or reinstatement order1
(c) Did you file an appeal with the Board of Immigration Appeals?
' El Yes C] No
If “`Yes,” provide:
(1) Date of Eling:
(2) Case number:
(3) Result:
(4) Date of result

(5) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
" DYes"“_' ` ' ' "`L'_lNo
If “Yes,” provide: ' /
' (1) Name efcom§ ~ ` ‘ '
(2) Date of nling:
(3) Case number:

 

 

 

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12.

13.

 

(4) Result: ` g N/A`

(5) Date of result:

 

 

 

(6) issues raised:

 

 

 

 

 

 

 

 

Other appeals
Other than the appeals you listed above, have you filed any o
raised in this petition?- 4
» t N/A
[lYes UNo
If “Yes,” provide:

(a) Kind of petition, motion, or application1

ther petition,` application, or motion about the issues

 

(b) Name of the authority, agency, or court:

 

 

(c) Date of filing:

 

(d) Docket number, case-number, or opinion number:

(e) Result:

 

 

(f) Date of result:

 

(g) lssues raised:

 

 

 

 

 

 

 

 

‘ Grounds for Your Challeuge in This 1’etition

State every ground (reason) that supports your claim that you are being held in violation of the Constitution,

» laws, or treaties of the United States. Attach additional p
facts supporting each ground '

GROUND ONE:

ages if you have more than four grounds State the

 

See Accomoanvinia.;Petition

 

 

 

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(&) SllppOI'i`.iIlg faCfS (Be brief Do not cite cases or law. )'
See Accompanying Petition

 

 

 

 

 

(b) Did you present Ground One in all appeals that were available to you?
UYes HN§

GRoUND Two: See Accompanying Petition `

 

 

 

(a) Sll`ppOI'l]Ilg facts (Be brief Do not cite cases or law. )'
See Accompanying Petition

 

 

 

 

 

 

(b) Did you present Ground Two iii all appeals that were available to you?
[JYes mo

GROUND TE[REE_: See Accompanying Petition

 

 

 

(a,) SuppOi’tiIlg facts (Be brief Do not cite cases or law ).
See Accompanyi)r`ig Petit-ion

 

 

 

 

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
_ oYes ` mile ' '

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GROUND FOUR: See Accompanying Petition

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):
See Accompanying Petition

 

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?
ClYes ’ANo ‘

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not Intervening New Substantive Rules Announced By Uni ted
States Supreme Court §iThese Issues Not Available When Petitioner ' s Conviction
Had Become Final .

 

Request for Relief

15. State exactly what you want the court to doc Vacate Convlctlons And Sentences '

 

 

 

 

 

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Declaration Under Penalty Of Perjury
lf you are incarcerate on what date did you place this petition in the prison mail system:

on ihis»_€_ ay of N\_Agp,il ' , 2018.
. l

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct I understand that a false statement of a material fact may serve as the basis

for prosecution for peijury.

oate;TniSl_g:§ay Of , 2018. / /) - ~DA/v,

Signature of Petz`tioner

 

Dennis Dinwiddie

 

Sz'gnature of Attomey or other authorized person, if any

 

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